                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 STATE OF NEW JERSEY, et al.,

                       Plaintiffs,

        v.                                                Case No. 1:25-cv-10139-LTS

DONALD J. TRUMP, in his official
capacity as President of the United States, et
al.,

                       Defendants.


        MOTION TO STAY PRELIMINARY INJUNCTION PENDING APPEAL

       Pursuant to Federal Rule of Civil Procedure 62, Defendants respectfully move for a stay

pending appeal of the of the Court’s February 13, 2025 Order, ECF No. 145, which preliminarily

enjoins Defendants on a nationwide basis from implementing and enforcing Executive Order No.

14160, Protecting the Meaning and Value of American Citizenship (Jan. 20, 2025). The reasons

for this motion are set forth in the accompanying memorandum of law.



Dated: February 19, 2025                         Respectfully submitted

                                                 BRETT A. SHUMATE
                                                 Acting Assistant Attorney General
                                                 Civil Division

                                                 LEAH B. FOLEY
                                                 United States Attorney

                                                 ALEXANDER K. HAAS
                                                 Branch Director

                                                 BRAD P. ROSENBERG
                                                 Special Counsel
/s/ R. Charlie Merritt
R. CHARLIE MERRITT (VA Bar No. 89400)
YURI S. FUCHS
U.S. Department of Justice
Civil Division, Federal Programs Branch
1100 L Street, NW
Washington, DC 20005
Phone: 202-616-8098
Fax: 202-616-8460
Email: robert.c.merritt@usdoj.gov

Attorneys for Defendants
                             LOCAL RULE 7.1 CERTIFICATION

       I hereby certify that I conferred with counsel for the Plaintiffs and that the parties were

unable to resolve or narrow the issues presented by this motion.

Dated: February 19, 2025



                                                      /s/ R. Charlie Merritt
                                                      R. Charlie Merritt
                                                      Trial Attorney




                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent

electronically to the registered participants as identified on the NEF.

Dated: February 19, 2025




                                                      /s/ R. Charlie Merritt
                                                      R. Charlie Merritt
                                                      Trial Attorney
